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                                      UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                           Case No.: 1:22-cr-00265-RC-1



                            v.                      UNOPPOSED MOTION TO
                                                    CONVERT IN-PERSON CHANGE
TIMOTHY WILLIAMS,                                   OF PLEA HEARING TO VIRTUAL
                                    Defendant.      HEARING


                       COMES NOW, Timothy Williams, by and through undersigned

counsel, to respectfully request this Honorable Court to convert the in-person

change of plea hearing, currently scheduled for February 21, 2023, to a virtual

hearing. As grounds for this motion counsel would state:

                       1. The defendant is charged with five misdemeanors. Entering and
Remaining in a Restricted Building in violation of 18 U.S.C. §1752(a)(1), Disorderly
and Disruptive Conduct in a Restricted Building or Grounds, in violation of 18
U.S.C. §1752(a)(2), Disorderly Conduct at the Grounds and in a Capitol Building, in
violation of 40 U.S.C. §5104(e)(2)(D), and Parading, Demonstrating, or Picketing in
a Capitol Building, in violation of 40 U.S.C. §5104(e)(2)(G), and Theft of
Government Property in violation of 18 U.S.C. §641.
                       2. A change of plea hearing is scheduled for February 21, 2023, and

the defendant intends to enter a plea to Counts One and Five, Entering and

Remaining in a Restricted Building in violation of 18 U.S.C. §1752(a)(1) and Theft

of Government Property.


United States v. Timothy Williams                                  Joseph R. Conte
Case No. 1:22-cr-00265-RC-1                                        Law Office of J.R. Conte
                                                                   8251 NW 15th Ct.
Unopposed Motion to Convert In-Person Change of                    Coral Springs, FL 33071
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                       2. The court has scheduled the hearing to be in-person.

                       3. The defendant resides in Colorado.

                       4. The defendant is without the financial means to pay transportation

and related expenses from Colorado to Washington, D.C. and travel will result in a

sever strain on the family’s finances.

                       WHEREFORE counsel respectfully requests that this Honorable Court

convert the in-person change of plea hearing to a virtual hearing.



Dated: February 7, 2023


                                                               Respectfully Submitted,

                                                           Joseph R. Digitally       signed by
                                                                            Joseph R. Conte

                                                           Conte            Date: 2023.02.07
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                                                             _________________________
                                                               Joseph R. Conte
                                                               Counsel for Timothy Williams
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